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EXHIBIT B

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Appellate Division of the Supreme Court

nf the State of New Pork
Second Judicial Department

I, James Edward Pelzer, Clerk of the Appellate Division of the
Supreme Court of the State of New York, Second Judicial Department,
do hereby certify that Michael Paul BeSimone was duly
licensed and admitted to practice as an Attorney and Conunselor-at-Law
in all the courts of the State, according to the laws of the State and the
court rules and orders, onthe 4th day of February 2003,

has duly taken and subscribed the oath of office prescribed by law, has
been enrolled in the Roll of Attorneys and Counselors-at-Law on file in
ny office, has duly registered with the administrative office of the
courts, and according to the records of this court ta in good standing as

an Attorney and Counselor-at-Law.

Iu Witness Whereof, J have hereunto set
my hand and affixed the seal of said
Appellate Division on July 02, 2010.

Puc Eilveeg fig

Clerk of the Court

